Case 2:95-cV-03010-.]P|\/|-de Document 384 Filed 05/10/05 Page 1 of 2 Page|D 402

Fli.ED TZ»‘:' __ ,, C’.C.
IN THE UNITED STATES DISTRICT COURT

FoR THE wEsTERN DISTRICT ®BMENNESSHEB= 156
wEs'rERN DIVISION

 

 

SHARON B. POLLARD,
Plaintiff,
No. 95-3010 Ml/V

'V'.

E . I . DUPONT DE NEMOURS , INC . ,

Defendant.

 

ORDER DIRECTING CLERK TO DISBURSE REMAINING FUNDS

 

On May 2, 2005, the Court issued a Consent Order for
Disbursement of Attorney's Fees and Expenses Deposited Into
Registry of the Court. Pursuant to that order, the Clerk of the
Court was ordered to reduce the funds on deposit in the registry
of the Court to zero after disbursing the funds in the manner
prescribed by the order. It has now come to the Court's
attention that a balance of $158.40 Would remain on deposit in
the Court’s registry after the Clerk disbursed the funds in the
manner prescribed by the May 2, 2005, order. Accordingly, the
Court ORDERS that the Clerk disburse the remaining $158.40
balance by making a check payable to Kathleen L. Caldwell in the

sum Of $158.40.

So ORDERED this C? day of May, 2005.

Mf?° Ml

JO P. MCCALLA
'I‘ED STATES DISTRICT JUDGE

 

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with Hule 58 and/or 79(3) FFiCP on 5" [§! 'Of ‘

UN1TE`DSTATS D1STR1C COURT - WESTERN1CSR1T oF TENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 384 in
case 2:95-CV-03010 Was distributed by faX, mail, or direct printing on
May 10, 2005 to the parties listed.

 

 

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Honorable .1 on McCalla
US DISTRICT COURT

